                 Case 1:16-cr-00469-ELH Document 26 Filed 10/17/16 Page 1 of 1
                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
                                                                             *
                            "s.                                                                   Case No.... JFM-16-0469
                                                                                                            :.. ,       I 1.1   j-.J
                                                                             *
         MARTIN ROBERT HALL                                                  *
                                                                          ******                                                              ::

                                      ORDER OF DETENTION                            (18 U.S.c. & 3142)

         In accordance with the Bail Reform Act, 18 U.S.C. !i 3142(1), a detention hearing ha~been held. Fhave
concluded that the following facts require the detention of the defendant pending the trial of this case. a

                                             PART I: FINUINGS OF FACT
~I)         This is a case in which the [government may properly seek detention] or [the court may consider ordering
            detention sua sponte).                                                                                  n /\ /c\
eY"(2) The defendant is charged under:                 -;;l), 5').~)G)                  t:{ '()     )-2:; ') I-l~                         _


~           The maximum term of imprisonment, jf convicted, is:

r:J(4)      Based on the government's IprofferllC\'idencel                    there is pr. bable cause to believe that the defendant
            committed the offense(s) charged.

                   g/"The     government is entitled to a presumption under!i 3142 (e) Idescribe in Part III.

                   D The defendant has failed to rebut this presumption [as to flight risk] or [as to danger].
~           I lind, by a preponderance of the evidence, from the infornlation produced at the hearing that there is a
            serious risk that the defendant will not appear.

~           I find, by clear and convincing evidence, from the information produced at the hearing that the defendant
            poses a risk to the safety of other persons and the community.
~           I find by clear and convincing evidence that there is no condition or combination of conditions which will
            reasonably assure Ithe defendant's presence at trial or as otherwise requiredllcommunity        safetyl.


                PART II: WRITTEN STATEMENT                          OF ADDITIONAL                 REASONS FOI{ DETENTION
    "(           {~.             ,(<;("v.(
                . ~.-     cU                  ""1>«        • .1--   ".~

=ttn:'2fftiJJ: ~';~;;::OJ:1':it:;;.'~
                                 ,~';'(                                                                                                '6~<6


     The defendant is committed to the custody oftht: Attorney General or his/her designated representative for confinement in a
corrections facility separate, to the extent practicable. from persons awaiting~C      'ing sentences or being hdd in custody
pending appeal. The defendant shall be afforded reasonable opportunity for riv       onsultation with defense c{)unsel. On order
of a court of the United States or on request of an attorney for the  vern.;n .     U.S. Marshal shall deliver the defendant for
the purpose of an appearance in connection with a court procecdin                    /j'~ ..
October 14,2016                                                                      'If/I
Date                                                                      J.,Ma k     uls n
                                                                          u'nited States Magistrate Judge


u.s. District
                                                                      /
                Court (9/2009) Criminal Magistrate Forms: Order of Detention
